              Case 2:07-cr-00571-GEB Document 278 Filed 02/10/11 Page 1 of 1




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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                           No. CR S-07-571 GEB EFB P

12          vs.

13   ARMANDO SANCHEZ,

14                  Movant.                               ORDER

15                                        /

16          Movant, a federal prisoner proceeding without counsel, has filed a motion to vacate, set

17   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Respondent has filed a motion to

18   dismiss movant’s § 2255 motion. Movant is directed to file an opposition or statement of no

19   opposition within thirty days of the date of this order. Respondent’s reply, if any, is due fourteen

20   days thereafter.

21          So ordered.

22   Dated: February 10, 2011.

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